






IN THE COURT OF APPEALS, THIRD DISTRICT OF TEXAS,



AT AUSTIN




                       





NO. 3-93-483-CV





TOM GREEN COUNTY JAIL INMATES,




	RELATORS



vs.



TOM GREEN COUNTY SHERIFF,



	

	RESPONDENT





                       




HABEAS CORPUS PROCEEDING FROM TOM GREEN COUNTY



                       





PER CURIAM

	Relators filed their petition for writ of habeas corpus on September 13, 1993.  The
petition for writ of habeas corpus is denied.  Tex. R. App. P. 120(d).


Before Chief Justice Carroll, Justices Aboussie and B. A. Smith

Petition for Writ of Habeas Corpus Denied

Filed:   October 13, 1993

Do Not Publish


